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EXHIBIT G

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UNITED STATES DISTRICT COURT
for the
MIDDLE DISTRICT OF FLORIDA

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TARLA MARKAEFF, et al. Civil Action No.

10CV0940GPC (WVG)

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Plaintiff,

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Vv.
TRUMP UNIVERSITY, LLC, et al.

Defendant.

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CERTIFICATE OF NON-APPEARANCE

STATE OF FLORIDA )
COUNTY OF ORANGE )

SDS A Le SDH SOT TINEA See

I, Margaret Lowe, Professional Reporter, Notary Public
for the State of Florida at Large, do hereby certify that I was|
present at the offices of Luks, Santaniello, Petrillo & Jones,
255 South Orange Avenue, Suite 750, Orlando, Florida 32746, on
Wednesday, October 23, 2013, at 9:00 a.m. for the purpose of
reporting the deposition of GERALD MARTIN scheduled to begin atl
9:00 a.m., that Amber L. Eck, Esquire was present; and that theb
deponent did not appear.

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Under penalties of perjury, I declare that I have read
the foregoing certificate and that the facts stated in it are
true.

DATED this 23rd day of October, 2013.

DR TaN PON ERE RAEN Valk See

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Hergerd Rowe
Margaret Lowe
Phipps Reporting
1613 Forum Place, Suite 500

West Palm Beach, Florida 33401

 

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UNITED STATES DISTRICT COURT :
2 for the :
MIDDLE DISTRICT OF FLORIDA :
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TARLA MARKAEFF, et al. ) Civil Action No. i
5 ) 10CV0940GPC (WVG) :
Plaintiff, ) ;
6 ) :
7 Vv. i
TRUMP UNIVERSITY, LLC, et al. ) :
8 ) :
Defendant. )
9 )
10
STATEMENT OF AMBER ECK, COUNSEL FOR PLAINTIFFS
11

I have been here since 9:00 a.m. and Mr. Martin has notk
12 appeared. Today's deposition date and time was coordinated
with and agreed to by Mr. Martin's counsel, Jill Martin, Esq.,
13 and as late as two days ago, she agreed that both she and
Gerald Martin would be present at the deposition.
14
I e-mailed Jill Martin at 9:25 a.m. and let her know 4
15 that if she and Gerald Martin were on their way, she should let
me know immediately. I told her that, otherwise, we would
16 enter a notice of nonappearance, and file with the Middle
District of Florida today a motion to compel Gerald Martin's
17 appearance, and order to show cause why he should not be held i:
in contempt and sanctions issued. 2
18 :
It is now 10:00 a.m. and Gerald Martin has not :
19 appeared, and I have not heard from him or his counsel, Jill :
Martin. Therefore, the court reporter is entering a
20 Certificate of Nonappearance.

21 DATED this 23rd day of October, 2013.

 

 

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3 |
1 CERTIFICATE OF REPORTER ;
2 STATE OF FLORIDA
3 COUNTY OF ORANGE
,
5 I, Margaret Lowe, Professional Reporter, certify that th
6 was authorized to and did stenographically report the foregoing|}
7 statement of Amber Eck, Esquire, and that the foregoing

8 statement is a true and complete record.
9 I further certify that I am not a relative, employee,

10 attorney, or counsel of any of the parties, nor am I a relative

A PEREIRA REPOS CLT RA

 

 

11 or employee of any of the parties' attorneys or counsel f
F

12 connected with the action, nor am I financially interested in :
. ;
13. ‘the action. :
14 DATED this 23rd day of October, 2013. ;
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Hfoxpaswd Rowe ,

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Margaret Lowe

20 Professional Reporter ;
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